               IN THE COURT OF APPEALS OF NORTH CAROLINA

                                    No. COA16-987

                               Filed: 5 September 2017

Wake County, No. 14CRS000129

THE STATE OF NORTH CAROLINA,

              v.

KENNETH VERNON GOLDER, Defendant.


      Appeal by defendant from judgments entered 12 October 2015 by Judge Henry

W. Hight, Jr. in Wake County Superior Court. Heard in the Court of Appeals 22

March 2017.


      Attorney General Joshua H. Stein, by Assistant Attorney General Michael T.
      Henry, for the State.

      Anne Bleyman, for defendant-appellant.


      BERGER, Judge.


      Kenneth Vernon Golder II (“Defendant”) appeals the trial judgments of

obtaining property by false pretenses, accessing a government computer, altering

court records, and unlicensed bail bonding.       Defendant has challenged both the

indictment and sufficiency of the evidence for his unlicensed bail bonding conviction,

as well as the sufficiency of the evidence for the aiding and abetting theory of criminal

liability and the obtaining property by false pretenses conviction.        After careful
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                                   Opinion of the Court



review of Defendant’s assignments of error, we find Defendant received a fair trial

free from error.

      Defendant has also petitioned this Court for a writ of certiorari seeking review

if we were to find service of his notice of appeal to be deficient, and we see no need to

grant this petition. It is the filing of the notice of appeal that confers jurisdiction

upon this Court, not the service of the notice of appeal. Lee v. Winget Rd., LLC, 204

N.C. App. 96, 100, 693 S.E.2d 684, 688 (2010) (citation omitted). The State has

entered no objection to any lack of service and has participated in this appeal, thereby

waiving service of Defendant’s notice of appeal. See Hale v. Afro-American Arts

International, 335 N.C. 231, 232, 436 S.E.2d 588, 589 (1993).

                          Factual &amp; Procedural Background

      In September 1999, Kelvin Ballentine (“Ballentine”) joined the Wake County

Clerk’s Office (“Clerk” or “Clerk’s Office”) where he was employed in various

capacities until 2013. Ballentine was the Bond Forfeiture Clerk from 2006 until 2008,

when he joined the estates division of the Clerk’s Office. As Bond Forfeiture Clerk,

Ballentine worked with the bail bondsmen in Wake County and, in agreement with

several bondsmen, began a scheme in 2006 by which he would use his access to the

State’s automated Civil Case Processing System (“VCAP”) to enter false data into the

system in exchange for cash. Specifically, Ballentine agreed to enter data into VCAP




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that would show motions to set aside bond forfeitures had been filed with the Clerk,

even though no motions were in fact filed.

      When a defendant fails to appear on their court date, any posted bond is

considered forfeited and is recorded as such by the clerk.       After notification of

forfeiture from the Clerk, the bondsman has 150 days to either bring the defendant

client into custody or dispute liability for the bond.

      Monies collected from bond forfeitures go to the county board of education. A

motion to set aside a bond forfeiture must be filed with the Clerk and served upon

the school board. The board has twenty days to file an objection to the motion,

otherwise it is automatically granted and the bondsman is relieved of liability for the

bond. Ballentine knew that the Wake County School Board (“School Board”), if no

physical set aside motion was filed, would have “no way of knowing” it should contest

the motion and the bondsman’s liability would be relieved automatically.

      In 2007, Ballentine met with Defendant at his bonding company office to

discuss this scheme. The two men reached an agreement where Defendant would

provide a list of cases, with case numbers, names of the defendant clients and bond

amounts, and then Ballentine would enter fictitious motions to set aside into the

VCAP system. For these fictitious entries, Ballentine would be paid between $500.00

and $2,000.00 in cash.




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      This scheme continued from 2007 until November 2012. During that time,

Defendant would send his case list through text message to Ballentine. Defendant

would then generally drop an envelope of cash into Ballentine’s vehicle through a

window left cracked for this purpose, although Defendant occasionally paid

Ballentine in person.

      In 2012, Ballentine decided he could no longer assist Defendant and ended

their scheme. In 2013, the Clerk received information regarding irregularities in

several bond forfeiture cases and, in conjunction with the Administrative Office of the

Courts, the State Bureau of Investigation and the Wake County District Attorney’s

Office, began an investigation. Many of the questionable cases had no physical set

aside motions in the Clerk’s files, and neither the State, nor the School Board, had

copies of the motions and notices that should have been in their files.

      Ballentine could only make entries into VCAP through his username, thereby

leaving digital fingerprints showing a pattern of unauthorized entries of set aside

motions with no corresponding physical copies. Ballentine was confronted, relieved

of his duties with the Clerk’s Office, and he eventually made a full disclosure to the

State Bureau of Investigation.     Of at least 300 cases impacted by Ballentine’s

fictitious entries, 137 were associated with Defendant and these had an aggregate

value of $480,100.00.




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                                   Opinion of the Court



       On February 25, 2014, Defendant was indicted for the felonies of obtaining

property by false pretenses worth $100,000.00 or more, in violation of N.C. Gen. Stat.

§ 14-100; unlawfully accessing a government computer, in violation of N.C. Gen. Stat.

§ 14-454.1; and unlawfully altering court records, in violation of N.C. Gen. Stat. § 14-

221.2. Defendant was also indicted for the misdemeanors of a bail bonding violation,

pursuant to N.C. Gen. Stat. § 58-71-95; and unlicensed bail bonding, pursuant to N.C.

Gen. Stat. § 58-71-40. Defendant was tried before a jury in Wake County Superior

Court starting on October 5, 2015. The trial court dismissed the bail bond violation

during trial.

       On October 12, 2015, the jury found Defendant guilty of obtaining property

valued below $100,000.00 by false pretenses, unlawfully accessing a government

computer, unlawfully altering court records, and unlicensed bail bonding. Defendant

was sentenced to individual terms of imprisonment running consecutively totaling

from   thirty-five   months   to   forty-three   months,   including   forty-five   days

imprisonment for the unlicensed bail bonding conviction, and $480,100.00 in

restitution for the obtaining property by false pretenses conviction. Defendant filed

written notice of appeal on October 21, 2015, but this notice was not served on the

State. As discussed above, the State waived the required service of Defendant’s notice

by participating in this appeal without objection.

                                       Analysis



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                                  Opinion of the Court



      Defendant has asserted two classifications of assignments of error in this

appeal.   His first classification contests the validity of the indictment charging

Defendant with unlicensed bail bonding, a misdemeanor. In his second classification

of assignment of error, Defendant argues that the State did not introduce sufficient

evidence at trial to sustain the convictions. Defendant asserts that the trial court

erred in failing to dismiss (1) the charges of obtaining property by false pretenses,

accessing a government computer, and altering court records because the State failed

to present sufficient evidence that Defendant aided and abetted Ballentine; (2) the

charge of obtaining property by false pretenses because the State failed to show

Defendant obtained anything of value; and (3) the charge of unlicensed bail bonding

because the State failed to show Defendant acted in the capacity of a bail bondsman.

We will take each in turn.

 I. Indictment

      Defendant was indicted, tried, and convicted for unlicensed bail bonding in

violation of N.C. Gen. Stat. § 58-71-40.       Defendant argues that the indictment

charging him with unlicensed bail bonding was fatally defective, and that the trial

court erred in failing to grant Defendant’s motion to dismiss that charge based upon

the faulty indictment. Defendant specifically argues that count of the indictment was

fatally defective because (1) no definite acts of unlicensed bail bonding were alleged

in the indictment, and because (2) this count of the indictment did not assert facts



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                                   Opinion of the Court



supporting every element of a criminal offense, and Defendant’s commission thereof,

with sufficient precision to apprise Defendant of the conduct that was the subject of

the accusation. We disagree.

      “Where an indictment is alleged to be invalid on its face, thereby depriving the

trial court of its jurisdiction, a challenge to that indictment may be made at any

time . . . .” State v. Collins, 221 N.C. App. 604, 610, 727 S.E.2d 922, 926 (2012)

(citation, quotation marks, and brackets omitted).        “On appeal, we review the

sufficiency of an indictment de novo.” Id. (citation and quotation marks omitted).

      In North Carolina, a criminal pleading must generally contain, in pertinent

part: (1) the identification of the defendant; (2) a “separate count addressed to each

offense charged”; (3) the county in which the offense took place; (4) the date, or range

of dates, during which the offense was committed; (5) a “plain and concise factual

statement in each count” that supports every element of the offense and the

defendant's commission thereof; and (6) the “applicable statute, rule, regulation,

ordinance, or other provision of law alleged therein to have been violated.” N.C. Gen.

Stat. § 15A-924(a)(1)-(6) (2015). For an indictment charging the offense to be valid,

it

             must charge all the essential elements of the alleged
             criminal offense. If the charge is a statutory offense, the
             indictment is sufficient when it charges the offense in the
             language of the statute. The two purposes of an indictment
             are to make clear the offense charged so that the
             investigation may be confined to that offense, that proper


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             procedure may be followed, and applicable law invoked;
             and to put the defendant on reasonable notice so as to
             enable him to make his defense.

Collins, 221 N.C. App. at 610, 727 S.E.2d at 926 (citations, quotation marks, brackets,

and ellipses omitted).

      In the case sub judice, the count of the indictment here at issue stated:

             And the jurors for the State upon their oath present that
             on or about and between January 2, 2008 through and until
             November 21, 2012, in Wake County, the Defendant named
             above unlawfully and willfully did act in the capacity of,
             and performed the duties, functions, and powers of a surety
             bondsman and runner, without being qualified and
             licensed to do so. This act was done in violation of N.C.G.S.
             58-71-40.

(Emphasis added).

      “As a general rule, an indictment couched in the language of the statute is

sufficient to charge the statutory offense.” State v. Lucas, 353 N.C. 568, 584, 548

S.E.2d 712, 724 (2001), overruled on other grounds by State v. Allen, 359 N.C. 425,

615 S.E.2d 256 (2005) (citation and quotation marks omitted). The indictment here

charged a violation of N.C. Gen. Stat. § 58-71-40, which states in relevant part that

“[n]o person shall act in the capacity of a professional bondsman, surety bondsman,

or runner or perform any of the functions, duties, or powers prescribed for professional

bondsmen, surety bondsmen, or runners under this Article unless that person is

qualified and licensed under this Article.”       G.S. § 58-71-40(a) (2015) (emphasis

added). The language of the indictment is plainly couched in the language of the


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statute. It is sufficient to clearly identify the crime being charged, apprise Defendant

of this charge against him allowing preparation for trial, and preclude the State from

putting Defendant in jeopardy more than once for the same crime.               State v.

Sturdivant, 304 N.C. 293, 311, 283 S.E.2d 719, 731 (1981) (citation omitted).

      Although Defendant contends in his brief that this indictment was fatally

defective based upon the fact that it failed to specify the exact manner in which he

allegedly violated Section 58-71-40, Defendant has failed to cite any authority

establishing the existence of such a requirement, and we have been unable to identify

any such authority in our own research. See State v. Miranda, 235 N.C. App. 601,

606-07, 762 S.E.2d 349, 353-54 (2014) (finding no requirement that allegations of the

exact manner in which a statute was violated be included in an indictment charging

a statutory offense). Therefore, the indictment was not fatally defective, but gave the

trial court jurisdiction to charge the jury, record the verdict, and enter judgment on

Defendant’s violation of Section 58-71-40.

II. Sufficiency of the Evidence

      In Defendant’s second classification of assignment of error, he asserts that the

State introduced insufficient evidence to sustain Defendant’s convictions. First, he

argues that the evidence of his aiding and abetting Ballentine was insufficient to

sustain the convictions of obtaining property by false pretenses, accessing a

government computer, or altering court records. Second, he argues that the evidence



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                                   Opinion of the Court



was insufficient to sustain the obtaining property by false pretenses conviction

because Defendant allegedly received no property or thing of value. And third, he

argues that the evidence of Defendant acting in the capacity of a bail bondsman was

insufficient to sustain his unlicensed bail bonding conviction.          We take each

assignment of error in turn, and ultimately find Defendant’s arguments unavailing.

We affirm the judgment of the trial court because not only did Defendant fail to

preserve his right to appellate review of the alleged error, but also sufficient evidence

was introduced to sustain the convictions for which appellate review was preserved.

      “This Court reviews the trial court’s denial of a motion to dismiss de novo.”

State v. Smith, 186 N.C. App. 57, 62, 650 S.E.2d 29, 33 (2007) (citation omitted).

“Upon defendant’s motion for dismissal, the question for the Court is whether there

is substantial evidence (1) of each essential element of the offense charged, or of a

lesser offense included therein, and (2) of defendant’s being the perpetrator of such

offense. If so, the motion is properly denied.” State v. Fritsch, 351 N.C. 373, 378, 526

S.E.2d 451, 455, cert. denied, 531 U.S. 890, 148 L. Ed. 2d 150 (2000) (citation omitted).

      “Substantial evidence is such relevant evidence as a reasonable mind might

accept as adequate to support a conclusion.” State v. Smith, 300 N.C. 71, 78-79, 265

S.E.2d 164, 169 (1980) (citations omitted). “In making its determination, the trial

court must consider all [competent] evidence admitted . . . in the light most favorable

to the State, giving the State the benefit of every reasonable inference and resolving



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                                  Opinion of the Court



any contradictions in its favor.” State v. Rose, 339 N.C. 172, 192, 451 S.E.2d 211, 223

(1994), cert. denied, 515 U.S. 1135, 132 L. Ed. 2d 818 (1995) (citation omitted).

             Circumstantial evidence may withstand a motion to
             dismiss and support a conviction even when the evidence
             does not rule out every hypothesis of innocence. If the
             evidence presented is circumstantial, the court must
             consider whether a reasonable inference of defendant’s
             guilt may be drawn from the circumstances. Once the court
             decides that a reasonable inference of defendant’s guilt
             may be drawn from the circumstances, then it is for the
             jury to decide whether the facts, taken singly or in
             combination, satisfy it beyond a reasonable doubt that the
             defendant is actually guilty.

Fritsch, 351 N.C. at 379, 526 S.E.2d at 455 (citations, emphasis, quotation marks,

and brackets omitted).

   A. Aiding &amp; Abetting

      Defendant has challenged the sufficiency of the evidence used to convict him

of several felonies because the State allegedly failed to prove he aided and abetted

Ballentine in the commission of these felonies. A defendant is guilty of a crime based

upon an aiding and abetting theory if the State proves beyond a reasonable doubt

that “(i) the crime was committed by some other person; (ii) the defendant knowingly

advised, instigated, encouraged, procured, or aided the other person to commit that

crime; and (iii) the defendant's actions or statements caused or contributed to the

commission of the crime by that other person.” State v. Goode, 350 N.C. 247, 260, 512

S.E.2d 414, 422 (1999) (citation omitted).



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      Aid or active encouragement, or the communication of the intent to assist, in

the commission of the crime is sufficient to show aiding and abetting. Id. (citation

omitted). “The communication or intent to aid does not have to be shown by express

words of the defendant but may be inferred from his actions and from his relation to

the actual perpetrators.” Id. (citation omitted). “When there is evidence that the

individual knew about and aided in the offense, or shared the intent and was in a

position to aid and encourage, the matter should go to a jury.” State v. Sink, 178 N.C.

App. 217, 221, 631 S.E.2d 16, 19, writ denied, disc. review denied, 360 N.C. 581, 636

S.E.2d 195 (2006) (citation omitted).

      However, Defendant has argued a theory on appeal that was not argued before

the trial court, and “where a theory argued on an appeal was not raised before the

trial court, the argument is deemed waived on appeal.” State v. Hernandez, 227 N.C.

App. 601, 608, 742 S.E.2d 825, 829 (2013) (citations, quotation marks, and brackets

omitted). “In order to preserve a question for appellate review, a party must have

presented the trial court with a timely request, objection or motion, stating the

specific grounds for the ruling sought if the specific grounds are not apparent.” State

v. Eason, 328 N.C. 409, 420, 402 S.E.2d 809, 814 (1991) (citing N.C.R. App. P.

10(b)(1)). “[A] defendant may not make insufficiency of the evidence to prove the

crime charged the basis of an issue presented on appeal unless a motion to dismiss

the action . . . is made at trial.” N.C.R. App. P. 10(a)(3) (2017). Defendant made no



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                                    Opinion of the Court



motion to dismiss for this count, whether a general objection to the sufficiency of the

evidence or a specific objection to the State’s ‘aiding and abetting’ theory of criminal

liability.

       “[I]f a defendant fails to move to dismiss the action, . . . defendant may not

challenge on appeal the sufficiency of the evidence to prove the crime charged.” Id.
Therefore, “an issue that was not preserved by objection noted at trial and that is not

deemed preserved by rule or law without any such action nevertheless may be made

the basis of an issue presented on appeal when the judicial action questioned is

specifically and distinctly contended to amount to plain error.”         N.C.R. App. P.

10(a)(4) (2017). Defendant has not argued plain error.

       “[M]atters that are not raised and passed upon at trial will not be reviewed for

the first time on appeal.” State v. Garcia, 358 N.C. 382, 410, 597 S.E.2d 724, 745

(2004), cert. denied, 543 U.S. 1156, 161 L. Ed. 2d 122 (2005) (citations and quotation

marks omitted). Defendant has waived appellate review of this alleged error. We

therefore do not reach the merits of Defendant’s argument on this issue, and his

assignment of error is overruled.

   B. Obtaining Property by False Pretenses

       Defendant has challenged the sufficiency of the evidence for his obtaining

property by false pretenses conviction. “Obtaining property by false pretenses is

defined as (1) a false representation of a past or subsisting fact or a future fulfillment



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                                   Opinion of the Court



or event, (2) which is calculated and intended to deceive, (3) which does in fact

deceive, and (4) by which the defendant obtains or attempts to obtain anything of

value from another person pursuant to N.C. Gen. Stat. § 14-100(a).” State v. Barker,

240 N.C. App. 224, 229, 770 S.E.2d 142, 146 (2015) (citation and brackets omitted).

If the value of what is obtained is greater than $100,000.00, then the violation is a

Class C felony; if less, then a Class H felony. N.C. Gen. Stat. § 14-100(a) (2015).

      Defendant’s argument on appeal specifically focuses on element four, whether

Defendant obtained property or anything of value. It must be noted initially that

Defendant was paying Ballentine $500.00 or more to alter court records. From this

it can be inferred, and it was for the jury to decide, that what was obtained had value,

at least to Defendant. However, this was not the objection made to the trial court.

      At the close of all evidence, Defendant objected to the sufficiency of the

evidence to support this charge by arguing “that essentially the numbers are off.”

This is the same objection Defendant made at the close of the State’s evidence,

arguing that the dollar amount attributed to the thing of value obtained was less than

alleged in the indictment. The indictment alleged a value of $480,100.00, to which

Defendant objected and argued that the “total dollar amount is $63,000.00.” It would

appear from the record that Defendant was attempting to have the crime charged in

the indictment reduced from a Class C felony to its lesser-included offense, a Class H

felony. The jury convicted Defendant of the latter Class H felony.



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                                     Opinion of the Court



      Defendant cannot now argue that the evidence was insufficient because there

was no thing of value.     Similar to our review of Defendant’s argument on the

sufficiency of the State’s aiding and abetting evidence, Defendant’s failure to argue

the specific theory on appeal that was argued to the trial court has waived his right

to appellate review on this issue.

   C. Unlicensed Bail Bonding

      Defendant has challenged the sufficiency of the evidence for his conviction for

unlicensed bail bonding. Section 58-71-40 states that “[n]o person shall [(1)] act in

the capacity of a professional bondsman, surety bondsman, or runner or perform any

of the functions, duties, or powers prescribed for professional bondsmen, surety

bondsmen, or runners under this Article[,] [(2)] unless that person is qualified and

licensed under this Article.” N.C. Gen. Stat. § 58-71-40(a) (2015). This same Article

71 makes any violation of any provision under this Article, unless otherwise provided,

a Class 1 misdemeanor. N.C. Gen. Stat. § 58-71-185 (2015).

      Here, Defendant admitted in his testimony at trial, and does not challenge in

this appeal, that he would not be qualified to be licensed and has never applied to be

licensed as a bondsman in North Carolina. He contests whether there was sufficient

evidence that he “acted in the capacity of” or “performed the functions, duties, or

powers” of a bondsman.




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      “[T]he Commissioner of Insurance has the ‘full power and authority to

administer the provisions’ of Article 71, [which regulates] ‘Bail Bondsmen and

Runners.’ ” Rockford-Cohen Grp., LLC v. N.C. Dep't of Ins., 230 N.C. App. 317, 319,

749 S.E.2d 469, 472 (2013), appeal dismissed, disc. review denied, 367 N.C. 532, 762

S.E.2d 461 (2014) (quoting N.C. Gen. Stat. § 58-71-5 (2011)). At trial, the Compliance

Section Supervisor of the Agent Services Section of the Department of Insurance

(“Department”) testified on behalf of the State. She explained that the Department

has interpreted Article 71, the governing statutes, to prohibit an unlicensed person

from, inter alia, screening potential bond clients; negotiating the terms of and

receiving the initial premium paid for a bond; discussing motions and petitions with

court staff that relate to a bond forfeiture; relaying messages regarding these same

motions and petitions to court staff on behalf of the bondsman; and apprehending, or

even being present or assisting in apprehending, a defendant client who has missed

a required court appearance.

      Although “an agency’s interpretation is not binding,” “[w]e give great weight

to an agency’s interpretation of a statute it is charged with administering[.]” High

Rock Lake Partners, LLC v. N.C. Dep't of Transp., 366 N.C. 315, 319, 735 S.E.2d 300,

303 (2012) (citations and quotation marks omitted). In line with the interpretation

of the Department, the trial court instructed the jury that “a bail bondsman or runner

may discuss motions to set aside [a bond forfeiture] with court staff while an



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unlicensed employee of a bail bondsman may not.” It went on to instruct that if the

jury found from the evidence that Defendant had acted in the capacity of a bail

bondsman without being qualified or licensed to do so, it would be the jury’s duty to

return a verdict of guilty.

      Ballentine testified that he knew Defendant from working as the clerk

overseeing bond forfeitures for the Wake County Clerk’s Office. He further testified

that Defendant would send him a list of defendant-clients’ names, along with their

case information and bond amounts being forfeited, and place an envelope of cash in

Ballentine’s vehicle. The evidence showed that Ballentine was being compensated

for entering false information into the electronic court files to create the illusion that

motions to set aside bond forfeitures had been filed.         This was done to relieve

Defendant’s liability for bonds forfeited due to his defendant-clients’ failures to

appear in court. The electronic file systems would automatically grant these motions

to set aside if no objection was filed by the State or the county Board of Education.

Neither the State nor the Board of Education would receive notice, and, therefore,

have no opportunity to object because no physical motions were ever filed. Each

fictitious motion to set aside about which Ballentine and Defendant communicated

was granted automatically, and Defendant’s liability was released.             Sufficient

relevant and direct evidence, that a reasonable mind might accept as adequate, was




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introduced at trial from which the conclusion that Defendant had acted in the

capacity of a bondsman without being licensed to do so could be reached.

      Defendant has argued that, although Ballentine was court staff, he and

Defendant were not discussing actual motions to set aside, merely discussing false

entries that motions to set aside had been filed. This argument is unconvincing

because the crime focuses on the matter being addressed and whether whomever is

addressing that matter is licensed to do so. Therefore, whether or not the motions to

set aside were real or fictitious has no bearing on whether the Defendant discussed a

specific bond with a member of the Clerk’s Office, thereby acting in the capacity of a

bail bondsman. The trial court did not err in denying Defendant’s motion to dismiss,

and this assignment of error is overruled.

                                     Conclusion

      We have carefully reviewed Defendant’s assignments of error and have found

that either Defendant waived appellate review for the alleged error, or that no error

was committed. Defendant’s indictment charging the statutory offense of unlicensed

bail bonding had no errors, and sufficient evidence was introduced to allow

Defendant’s guilt for this charge to be decided by the jury. Defendant’s failure to

object waived review of the sufficiency of the aiding and abetting theory evidence

because no motion to dismiss was made. Defendant’s motion to dismiss the obtaining

property by false pretenses charge was based upon a substantially different argument



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in the trial court than the argument made here, and Defendant thereby waived our

review of this charge. Therefore, we find no error in the judgment of the trial court.

      NO ERROR.

      Judges CALABRIA and HUNTER, JR. concur.




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